20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 1 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 2 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 3 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 4 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 5 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 6 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 7 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 8 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 9 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 10 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 11 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 12 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 13 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 14 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 15 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 16 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 17 of 18
20-00806-NPO Dkt 75 Filed 07/07/20 Entered 07/07/20 14:27:35 Page 18 of 18
